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12
                                    UNITED STATES DISTRICT COURT
13                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
        JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx) 
15                                                        )
                 Plaintiffs,                              )
16      - vs -                                            )   EXHIBITS IN SUPPORT OF
17                                                        )   PLAINTIFFS’ RESPONSE TO
        JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18      OF THE UNITED STATES, et al.,                     )
                                                              DEFENDANTS’ FIRST JUVENILE
                                                          )   COORDINATOR REPORTS
19               Defendants.                              )   VOLUME 7 OF 12 [REDACTED
20
                                                          )   VERSION OF DOCUMENT
                                                              PROPOSED TO BE FILED UNDER
21                                                            SEAL]
22                                                            [HON. DOLLY M. GEE]
23
                                                              Hearing: July 27, 2018
24                                                            Time: 10 AM

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                                    Certificate of Translation

 I, Michelle Brané, am fluent in the English and Spanish languages and I certify under penalty of
 perjury of the laws of the United States that I read the above statement back to _Jessica Y
                     , who verified that it was true and correct.




 _____                      ___________________
 Michelle Brané
 Women’s Refugee Commission
 1012 M Street, Suite 1100
 Washington DC, 20005
 (202) 750 - 8596




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 6/15/18

 10:49 AM

 Ursula Detention Center – McAllen

 Miguel A
 Andry M

 We encountered Border Patrol on Wednesday (6/13/18) at midnight. It was under the bridge and
 it was there we encountered them. From there we got on a bus and ended up at the center and
 that is where I was separated from my daughter. There were no explanations for the separation.

 The rooms were very cold. The bathrooms were inside the cells, behind a small wall. They were
 clean in the men’s room. Also, the girl’s bathroom in their room was clean. My daughter went
 into a room only for girls. There were girls of her age and one was pregnant. There was no soap
 in the bathrooms. In the room for men, there was no room and no room in the girl’s room. We
 don’t think there were many people in the rooms who were sick. The girl’s room was clean. At
 times the men’s room was dirty, but then would be cleaned. The silver blankets sometimes warm
 you up.

 5 times we ate the sandwiches of baloney with the juice and crackers. In the men’s room there
 was a water cooler with plastic cups and there was always water. There was light all of the time
 we were there at that center.

 There were other dads separated from their kids and there were other girls separated from their
 dads.

 Last night we arrived here to this center. This interview is the first time we have been together
 since the moment we were separated.

 In the original center there were no explanations about anything.

 It was when I got here that I did have an interview through a camera and computer with a man.
 He wanted to know why I came here, how I got here, where I was going, and know about my
 parents, and who was going to receive us.

 In the original center, they took photos of us.

 Here we have a small mat to sleep on. The center before we didn’t have anything. Here we also
 have the silver blankets. The room where the men are kept, there are fathers, and of the ones I’ve
 spoken to, none have their kids. In the room where the girls are, they are older girls, and some of
 them have parents here, others don’t.

 The temperature here is normal. We are not cold here.




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 Here there is hot food. We ate one time. It was a burrito of rice and beans, a milk, an apple, and a
 chocolate chip cookie, and water. All of the food was in good condition.

 The rooms are clean, and they have already cleaned them once. The bathrooms are private and
 clean. There is soap to wash your hands. There are no showers for the men but for the girls yes.
 My daughter took a shower this morning and it was a private shower.

 The lights here work, there has not been a time without light.

 I left my home country to protect my daughter. We are going to Miami.




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                                       CERTIFICATE OF SERVICE
1
              I, Peter Schey, declare and say as follows:
2

3             I am over the age of eighteen years of age and am a party to this action. I am
4
        employed in the County of Los Angeles, State of California. My business address is
5
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
6

7             On July 16, 2018, I electronically filed the following document(s):
8
           • EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANTS’
9              THIRD JUVENILE COORDINATOR REPORTS VOLUME 7 OF 12
10             [REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
               UNDER SEAL]
11      with the United States District Court, Central District of California by using the
12
        CM/ECF system.
13

14            On July 16, 2018, I also served true and correct copies of the above documents
15
        to the interested parties by sending copies to the email address of Defendants’ Counsel,
16
        Sarah Fabian.
17

18                                                  /s/Peter Schey
                                                    Attorney for Plaintiffs
19
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